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                   UNITED STATES COURT OF APPEALS
                                                                     FILED
                             FOR THE NINTH CIRCUIT
                                                                     MAR 15 2017
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS




 VOTING RIGHTS DEFENSE                          No. 16-16717
 PROJECT and AMERICAN
 INDEPENDENT PARTY,
                                                D.C. No. 3:16-cv-02739-WHA
               Plaintiffs - Appellants,         U.S. District Court for Northern
                                                California, San Francisco
  and
                                                ORDER
 CLARA DAIMS and SUZANNE
 BUSHNELL,

               Plaintiffs,

   v.

 ALEX PADILLA, in his official
 capacity as Secretary of State; et al.,

               Defendants - Appellees.


        The appellants' unopposed late motion (Docket Entry No. 11) for a third

extension of time to file the opening brief is granted. The appellants' opening brief

is due April 12, 2017; the appellees' answering brief is due May 12, 2017; and the

optional reply brief is due within 14 days after service of the answering brief.
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                                     FOR THE COURT:

                                     MOLLY C. DWYER
                                     CLERK OF COURT

                                     By: Terri Haugen
                                     Deputy Clerk
                                     Ninth Circuit Rule 27-7
